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Case 3:99-cv-00137-ECR-VPC Document 24 Filed 08/10/99 Page 1of3

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UMITED STATES DISTRICT COURT
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SIMMIE DAVIg

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Petitioner SIMMIE DAVIS Tu PROPER PERSON Now

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CERTIFICATE DE MAILING

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P.O, BOX ©O7

GARSON CITY MEVADA
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